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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA


 In Re:                                               )
                                                      )
 Steven Frank Fritchen, dba 2U Trucking LLC and Megan )              Case No. 20-01503-lmj
 Lynette Fritchen, Debtors                            )
                                                      )              Chapter: 13
                                                      )
                                                      )


                         ENTRY OF APPEARANCE AND REQUEST FOR DOCUMENTS

          COMES NOW the undersigned attorney of SouthLaw, P.C., and hereby enter their appearance on

 behalf of HSBC Bank USA, National Association, as Indenture Trustee of the Fieldstone Mortgage

 Investment Trust, Series 2005-3, by PHH Mortgage Corporation, a creditor of the above-captioned

 Debtor. Pursuant to the Bankruptcy Rules, all pleadings, notices and documents which are required or

 requested to be served upon said creditor should be served on the undersigned attorney, SouthLaw, P.C.,

 13160 Foster Suite 100, Overland Park, KS 66213-2660.



 SOUTHLAW, P.C.

 /s/ Wendee Elliott-Clement
 Wendee Elliott-Clement, AT0011311
 Lisa C. Billman, AT0013550
 13160 Foster Suite 100
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 Attorneys For Creditor




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                               CERTIFICATE OF MAILING/SERVICE

 The undersigned does hereby certify that a true and correct copy of the foregoing was filed electronically
 on this August 11, 2020 with the United States Bankruptcy Court for the Southern District of Iowa, and
 shall be served on the parties in interest via email by the Court pursuant to CM/ECF as set out on the
 Notice of Electronic Filing as issued by the Court and shall be served by U.S. Mail, First Class, postage
 prepaid, on those parties directed by the Court on the Notice of Electronic Filing issued by the Court and
 as required by the Federal Rules of Bankruptcy Procedure and the Local Rules of the United States
 Bankruptcy Court.

 Steven Frank Fritchen                                    SOUTHLAW, P.C.
 Megan Lynette Fritchen
 33807 - 305th Avenue                                     /s/ Wendee Elliott-Clement
 Richland, IA 52585
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 United States Trustee
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 U.S. TRUSTEE




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